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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF RHODE ISLAND


JOHN CESARIO
CAROL CESARIO,                     )
                  Plaintiffs,      )
                                   )
                                         C.A. NO. 05-090-S
                                   )
STEPHEN BERGQUIST,
               Defendant.



        ORDER DENYING PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT

        Before the Court is Plaintiff's        [sic] Motion for Summary

Judgment (Doc. 11) in the above-captioned action.

        In view of the Court's Memorandum and Order entered March 10,
2006 dismissing the instant action with prejudice, this motion is

hereby DENIED as MOOT.




It is so ordered.

  - -    -
William E. Smith
United States District Judge
